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G ASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582{c)( 1 )(B)         Page 1 of2(Page 2 Not for Public Disclosure)

                                         United States District Court                                                            U.S. OlSTWCT COUR i
                                                                                                                                       AUGUSIA u!V.
                                                                           for the

                                                            Southern District of Georgia                                         2019 HMD 9 PH 14=05
                                                                 Statesboro Division
                                                                                                                                 CLERK
                     United States of America
                                    V.

                                                                                   Case No:        6:96CR00004-12
                              Leroy Bethel
                                                                                   USMNo: 09105-021
Date of Original Judgment:                          October 8, 1996
Date of Previous Amended Judgment: N/A_                                            Michael J. Classens
(Use Date ofLast Amended Judgment ifAny)                                           Defendant's Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C.§ 3582(c)(1)(B)

        Upon motion of [E the defendant □ the Director of the Bureau of Prisons □ the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the tenn of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           □ DENIED. M GRANTED and the defendant's previously imposed sentence of imprisonment (as refected in
the lastjudgment issued) of _ _ Life          months is reduced to        Time Served as to all counts  .
                                                (Complete Parts I and U ofPage 2 when motion is granted)
In addition to reducing the imprisonment term as noted above, the previously imposed term of supervised release is
reduced to a term of _8 years.




Except as otherwise provided, all provisions of the judgment dated                            October 8, 1996          shall remain in effect.
IT IS SO ORDERED.


Order Date:                      n/ZD /•?
                                                                                                             Judge s signature


Effective Date:                                                                       rail, Chief Judge
                                                                         United States District Court
                                         /2jDi-f
                       (ifdi^rent fron/order date)
                                                                         Souihem District of Georgia
                                                                                                        Printed name and title
